      Case:18-05288-ESL11 Doc#:109 Filed:02/14/19 Entered:02/14/19 13:22:25                            Desc:
                          Order Granting (Generic) Page 1 of 1
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                         Case No. 18−05288 ESL

SKYTEC INC
                                                               Chapter 11

66−0564236

                                                               FILED & ENTERED ON 2/14/19
                        Debtor(s)



                                                      ORDER

The motion filed by creditor Logistic Systems, Inc. for entry of order directing examination under Rule 2004 and
production of documents (docket #108) is hereby granted .

IT IS SO ORDERED.

In San Juan, Puerto Rico, this Thursday, February 14, 2019 .
